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                                                          UNITED STATES DISTRICT
                                                          COURT SOUTHERN DISTRICT OF
                                                          FLORIDA

                                                          MIAMI DIVISION

                                                          Case No.: 1:18-CV-24100-COOKE/
                                                          GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER
   OF FORESTERS,

          Defendant.
                                               I

               PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                    AND INCORPORATED MEMORANDUM OF LAW

          Plaintiff, Digna Vinas (“Plaintiff” or “Vinas”), pursuant to Fed. R. Civ. P. 56 and S.D.
   Fla. L.R. 56.1, hereby files its Motion for Partial Summary Judgment against Defendant, The
   Independent Order of Foresters (“Foresters”) and incorporated Memorandum of Law:
                                        Preliminary Statement
          Plaintiff is aware of the body of caselaw holding that issues involving fraud generally
   raise questions of fact to be resolved by a jury. In fact, Vinas cited many of those cases in her
   Response to Foresters’ initial Motion for Summary Judgment (“MSJ”) arguing that questions
   of fact existed. (D.E. 135). As Vinas was preparing that response, however, it became
   apparent that the evidence on several distinct issues in the case either raised a question of fact
   or was actually undisputed in favor of Vinas.1 The time for filing motions for summary
   judgment upon which plaintiff could seek affirmative relief, however, had expired.




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              Vinas made that point several times in her response. (D.E. 135, at 1, 4, 6-7, 11, 15,
   17).
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          Recently though, the Court granted Vinas’ Motion for Extension of Time to File
   Dispositive Motions.        (D.E. 146).   As such, based upon a review of the depositions,
   interrogatory answers and other evidence of record, all as applied to Florida law, Vinas is
   filing the present motion on three discrete issues upon which there is no question of material
   fact. First, that with respect to Vinas’ fraud count, Foresters misrepresented a material fact
   to the Vinases. Second, that Foresters made the representation without knowledge of its truth
   or falsity, and the representation as therefore fraudulent under Florida law.2 Finally, that with
   respect to Count I (Breach of Contract), under Florida law, while the amount of damages to
   which Vinas is entitled remains an issue, by Foresters’ payment of the policy proceeds (which
   it has admitted (D.E. 69)), Vinas is entitled to partial summary judgment determining
   Foresters breached its contract.
                                Introduction and Summary of Argument
          By now, the Court is well aware of the facts of this case as they have been detailed in
   numerous Motions and memos for months. Nonetheless, the accompanying statement of
   material facts sets forth the relevant undisputed material facts giving rise to this motion:
          1.      In January 2015, Foresters sold Rigoberto and Digna Vinas a $92,000 life
   insurance policy on Mr. Vinas’ life. (Statement of Material Facts, D.E. 158, at ¶ 8).
          2.      Foresters sent its sales agent, Jazmin Lightbourn, to explain and sell the policy
   to the Vinases on its behalf. (Id. at ¶ 1). Foresters only sells its policies through agents like Ms.
   Lightbourn. (Id. at ¶ 2).
          3.      As part of its sales presentation, Foresters explained how the contestability
   clause worked in the event Mr. Vinas were to die within two years of the issue date. (Id. at ¶¶
   3-4). Foresters advised the Vinases that in such a situation, while Foresters would undertake
   a contestability investigation, as long as Mr. Vinas provided truthful answers to the
   application questions, i.e., answered the questions to his best knowledge and belief
   (“BK&B”), Foresters would not deny the claim based upon a misrepresentation. (Id. at ¶ 7).
   In other words, the standard for what a misrepresentation was, would be Mr. Vinas’ BK&B.
   (Id. at ¶¶ 7,17).



          Vinas acknowledges the two remaining issues of causation and the amount of
          2

   damages/punitive damages remain questions of fact for the jury.
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          4.      Mr. Vinas died on January 11, 2017, just short of the expiration of the two-year
   incontestability period.
          5.      Foresters undertook the anticipated contestability investigation, but denied the
   claim alleging Mr. Vinas lied by not disclosing that he supposedly had diabetes. (Id. at ¶¶ 11,
   19). Not only did Foresters assert Mr. Vinas lied on the application, it also alleged his lie was
   “material”, i.e., that Foresters would not have issued the policy had it known about the
   diabetes. (Id. at ¶ 19).
          6.      Vinas filed suit against Foresters for breach of contract and proceeded to take
   the depositions of Foresters’ Corporate Representatives (“CR”) and employees addressing the
   breach of contract and reasons for the claim denial.
          7.      In deposition, Foresters’ CR seriously undermined Foresters’ basis for denial
   when the CR admitted the documents in Foresters’ file showed Mr. Vinas’ BK&B at the time
   of completing the application was that he did not have diabetes, and therefore the claim
   should not have been denied. (Id., at ¶ 16 (Emphasis supplied); see also Buckland Depo, D.E.
   158-5, at p. 54, l. 18-24).
          8.      The CR further eliminated Foresters’ second defense and testified that nothing
   in Mr. Vinas’ medical records was material to Foresters’ issuance of the policy. In other
   words, even if Mr. Vinas had lied about his diabetes, (he didn’t), under Foresters’
   underwriting guidelines, it still would have issued the policy even if it had known about the
   diabetes. (Id. at ¶ 19). Shortly after the deposition, Foresters agreed to pay the full policy
   proceeds with interest (D.E. 152, at 4), confessing judgment under Florida law.
          9.      In addition, and particularly relevant to the present matter before the Court,
   both of Foresters’ witnesses provided testimony that gave rise to the present fraud in the
   inducement case. Specifically, despite Foresters’ representation at the time of sale of the
   policy that it would base a contestability claim decision on Mr. Vinas’ BK&B, Foresters
   admitted that its claim representatives do not even attempt to determine an insured’s BK&B
   when performing contestability investigations, and that denial letters consistent with this
   practice are approved by senior management. Instead, they make contestability decisions
   based only upon the medical records and the doctor’s diagnosis. (D.E. 158, at ¶¶ 13-14;
   Sullivan Depo, D.E. 158-4, at p. 172, l. 10 – 173, l. 22; l. 25 – p. 285, l.17). In other words,
   when Foresters sold the policy to Mr. Vinas, it could not have intended to pay a contestable

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   claim based upon Mr. Vinas’ BK&B, because Foresters’ claim department did not investigate
   what the insured’s BK&B was! (Id.).
          10.     Vinas sought, and over strong objection, obtained leave of Court to amend her
   Complaint to state a claim for fraud in the inducement. Vinas then deposed another of
   Foresters’ CRs, Doug Parrot on the issues of Foresters’ knowledge of the falsity of its
   representation. Mr. Parrot admitted several key and undisputed facts that are material to this
   motion. First, Mr. Parrot testified that the representations made by Foresters through its sales
   agent that Foresters would make its contestability decisions based upon the insured’s BK&B,
   were absolutely authorized by the company. (D.E. 158, at ¶ 3).
          11.     Second, Mr. Parrot admitted, that despite the promise that a contestability
   determination would be made based Mr. Vinas’ BK&B, the sales and marketing department
   at Foresters (i) never inquired of the claims department what factors it considered in making
   these determinations and (ii) had absolutely no idea whether the claims department did or
   would look at the insured’s BK&B when performing its contestability investigations. (Id. at
   ¶¶ 5-6). In other words, Foresters did not know whether its representation to the Vinases was
   true or not true at the time it was made. That is fraud under Florida law!
          12.     Based upon the undisputed admissions of Foresters’ own representatives on
   these two issues, Mrs. Vinas now seeks summary judgment on two elements of Count III
   (Fraud in the Inducement): (1) that Foresters made a misrepresentation of a material fact (2)
   it did so without knowledge of its truth or falsity.
          13.     The final issue that is appropriate for summary judgment is with respect to
   Count I, Breach of Contract. Under Florida law, while the amount of damages to which
   Vinas is entitled remains an issue, Foresters’ undisputed payment of the policy proceeds,
   (D.E. 73), after Vinas was required to file suit to recover those proceeds, is as a matter of law,
   a confession of judgment. As such, Vinas is entitled to partial summary judgment on liability,
   determining Foresters breached its contract.
                                       LEGAL STANDARD
          14.     A party may move for summary judgment on a claim or defense, or on a part
   of a claim or defense. Fed. R. Civ. P. 56(a). Summary judgment should be granted when
   “the movant shows that there is no genuine dispute as to any material fact and the movant is
   entitled to judgment as a matter of law.” Id. The Court may “enter an order stating any

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   material fact – including an item of damages or other relief – that is not genuinely in dispute
   and treating that fact as established in the case.” Fed. R. Civ. P. 56(g).
                                            ARGUMENT
    It is Undisputed That Foresters Knowingly Misrepresented That as Long as Mr. Vinas
    Answered Application Questions to His Best Knowledge and Belief, if Mr. Vinas Were
      to Die During the Two-Year Contestability Period, Foresters Would Not Deny His
                 Claim or Rescind His Policy Based Upon Misrepresentation.

                               Foresters Made a Misrepresentation

            15.   An action for fraud is properly predicated on promises of future action if “the
   person promising future action does so with no intention of performing, or with a positive
   intention not to perform ….” See, e.g., Mejia v. Jurich, 781 So. 2d 1175, 1177 (Fla. 3d DCA
   2001).
            16.   Foresters’ misrepresentation in this case, was made to Mr. and Mrs. Vinas at
   the time of sale of the policy. The policy was sold by Foresters to the Vinases through its sales
   agent Jazmin Lightbourn. It is undisputed that Jazmin Lightbourn was Foresters sales agent
   authorized to discuss, sell, and explain its products to proposed insureds including Mr. Vinas.
   In fact, Foresters does not expect its potential insured to distinguish whether its agents are
   employees. (D.E. 158, at ¶ 2).
            17.   Mrs. Vinas testified that during Foresters’ sales presentation, Foresters told Mr.
   and Mrs. Vinas that as long as Mr. Vinas told the truth in answering his application questions,
   i.e., answered the questions to his best knowledge and belief, Foresters would not deny his
   claim or attempt to rescind his policy based upon an alleged misrepresentation. (Id., at ¶ 7).
            18.   In   other   words,   Foresters       established   the   standard   for   what   a
   “misrepresentation” would be in the event Mr. Vinas were to die within two years and
   Foresters undertook a contestability investigation. Specifically, as long as Mr. Vinas provided
   truthful answers to his BK&B, Foresters would not consider such statement to be a
   “misrepresentation.” Thus, Foresters would not deny the claim on that basis.
            19.   Not coincidently, Foresters’ representation to the Vinases is consistent with
   both how Foresters sales and claims departments are supposed to work (Id., at ¶ 17), as well
   as with Florida law. Green v. Life & Health of Am., 704 So. 2d 1386, 1387–88 (Fla. 1998)
   (“[A]n insured's truthful answers on an insurance application according to the best of the


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   insured's ‘knowledge and belief,’ are not misstatements within the meaning of section
   627.409, Florida Statutes, and cannot provide the grounds for the insurer's rescission of the
   insurance policy.”).
          20.    First, Foresters’ representation regarding the best knowledge and belief
   standard and how the contestability clause is supposed to work was an authorized
   representation by Foresters through its sales agent Jazmin Lightbourn.
                 Q.       … you agree with me that it's necessary for the independent
                          agent to communicate with the prospective insured about the
                          product that they are looking to sell, does that seem reasonable?

                 A.       That's reasonable, yes.

                 Q.       And you agree with me that Foresters authorizes these people to
                          make accurate representations about Foresters' products,
                          correct?

                 A.       Correct.

                 Q.       And that includes the process of going through selling the
                          product and the application process, et cetera; correct?

                 A.       Correct.

                                               .        .     .


                 Q.       And if I understand correctly, you all give your applications and
                          your promotional materials to these, a group of what you call
                          independent agents, and they go out and they sell your policies.
                          …

                 A.       Correct. Once they are contracted and appointed with us then
                          they have access to this information.

                 Q.       Okay. And the applications that they give are provided by
                          Foresters; correct?

                 A.       Correct.

                                               .        .     .

                 Q.       Are you familiar with the portion of the application that the
                          insured has to sign where they represent that the medical

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                          information they provided, among other information, life,
                          health, age, things like that, is true and correct to the insured's
                          best knowledge and belief?

                  A.      Correct. It's in disclosures above this section.

                                                  .       .       .

                  Q.      And the standard for accuracy per Foresters own application
                          is the insured's best knowledge and belief, whether they are
                          telling the truth or not, right?

                  A.      That is correct.

   (Parrott Depo, D.E. 158-3, p. 39, l. 22-p. 40 l. 7, p. 40, l. 13-p. 41, l.7, p. 43, lines 15-23, p. 86,
   lines 13-23). (Emphasis Supplied).
          21.     Based upon the above, the evidence is undisputed that Foresters represented
   that if the insured were to die within the first two years of the policy being issued, Foresters
   would make a decision about whether the insured made a misrepresentation in the application
   with “misrepresentation” being measured by the insureds BK&B at the time of filling out the
   application.
                                    The Representation Was False
          22.     The evidence is similarly undisputed that the representation was false. The
   testimony on this point came from the actual claim investigator that denied Mr. Vinas’ claim.
   The testimony was shocking for its disregard of the representations made to the Vinases as
   part of the sales process (reflecting the standard of correctness in the application) that a
   contestable investigation will look to the insured’s BK&B to determine whether there was
   misrepresentation:
                  Q.      Do you make your inquiries [during contestable investigations]
                          trying to determine what the proposed insured’s best knowledge
                          and belief was at the time they filled out the application, or do
                          you make your inquiry to determine if the insured left out, for
                          example, a diagnosis that he may or may not have known about?

                  A.      I look to see if there was anything that was not disclosed on the
                          application.

                  Q.      So, your focus is not whether the insured knew about the thing
                          that was not disclosed, your inquiry is to determine whether or

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                           not there was a diagnosis, or a test, or something like that that
                           was not disclosed?

                   A.      I want to see if there was any medical information that was not
                           disclosed on the application.

   (Buckland Depo., D.E. 158-5, p. 14, l. 10-p. 15, l. 5) (Emphasis Supplied).
                                                  .       .       .
                   Q.      Is there a reason you wouldn't call or make a written inquiry of
                           the doctor to find out if he, if the patient was aware of his medical
                           condition?
                   A.      There's no reason.
                   Q.      Okay. You could do it?
                   A.      I could go back to the doctors; correct.
   (Id., p. 21, lines 15-22).
                                                  .       .       .
                   Q.      Your way doesn’t tell you the actual answer [what the insured’s
                           best knowledge and belief is]; does it?

                   A.      No.

   (Id. at p. 23, lines 7-9)

                                             .        .       .

                   Q.      Do you then rescind the policy, even though you have not made
                           a determination whether the insured knew of the condition?

                   A.      At that point I would do up a rescission letter and send it to
                           management for review.

   (Id., p. 20, lines 17-25) (Emphasis supplied). In short, despite its promise to the Vinases that
   Foresters would make its contestability determinations based upon Mr. Vinas’ BK&B,
   Foresters openly admitted it never even undertook to determine what Mr. Vinas’ best
   knowledge and belief was. Hence, the evidence is undisputed that the representation that
   Foresters would decide the contestability claim based on Mr. Vinas’ BK&B was false. There
   is no contrary evidence.




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                                   The Representation Was Material
          23.       The evidence of materiality is similarly undisputed.     Mr. Vinas has provided
   undisputed testimony that she and her husband jointly relied on Foresters’ representations,
   including Foresters’ representation as to how the incontestability clause worked, not only in
   deciding to purchase this policy, but also in deciding to cancel another life insurance policy.
   (D.E. 158, at ¶¶ 7-8; Vinas Depo, D.E. 158-1, p. 55, lines 7-17, p. 99, l. 8-p. 100, l. 13).
          24.       While Mrs. Vinas’ unrefuted testimony is sufficient in and of itself, in addition,
   Foresters’ own CR admitted the misrepresentation was material, expressing his professional
   dismay if he were to learn the actual facts of this case … that Foresters did not, in fact, make
   contestability decisions based upon the insured’s BK&B.
          25.       Specifically, Mr. Parrot, who had not been given Ms. Buckland’s or Mr.
   Sullivan’s deposition to read, (and was therefore unaware of the above testimony that
   Foresters does not determine an insured’s BK&B despite promising to do so)3, testified he
   would “have a problem” with Foresters’ admitted misrepresentation and failure to investigate
   Mr. Vinas’ BK&B because that “would not be in line with who we are”. Consider the
   complete exchange:
          Q.        If you were to find, as the head honcho of underwriting, that the folks
                    that looked at and investigated Mr. Vinas' claim expressly did not look
                    into what his best knowledge and belief was, in fact, said that they
                    weren't investigating that, that all they were looking at was whether or
                    not he had diabetes. If you were to learn that and assuming it was true,
                    would you take any action from the underwriting perspective?

          A.        I would have a problem with that just as an officer of the company.

          Q.        And why would you have a problem with that as an officer of the
                    company?

          A.        As an officer of the company I have a bigger responsibility than the area
                    in which I am responsible for. So that in terms of the practice would not
                    be in line with who we are.

          Q.        Because if that's true, and I understand everything you just said, because
                    if what I said is true, then the policy would have been sold under, let's
                    say, false pretenses or with a representation that wasn't true, fair? ...


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              Parrott Depo, D.E. 158-3, p. 69, l. 9-p. 70, l. 8
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           A.      That's the intent or that's the goal of the contestable review to make sure
                   that what we learned at the front end when the case was issued is indeed
                   accurate on the back end. If it's accurate to what we knew on the front
                   end a claim would be paid.

           Q.      And the standard for accuracy per Foresters own application is the
                   insured's best knowledge and belief, whether they are telling the truth or
                   not, right?

           A.      That is correct.

    (Parrott Depo, D.E. 158-3, p. 85, l. 5-p. 86, l. 23.) (Emphasis supplied). As to this element,
    there is no contrary testimony refuting the materiality of the representation. Summary
    judgment should be granted on this issue.
                       It Is Undisputed Foresters’ Statement Was Made Without
                                 Knowledge of Its Truth or Falsity.
           26.     Scienter is the second element of fraud. It is well settled under Florida law, that
    this element can be satisfied by proving either: (1) That the representation was made with
    actual knowledge of its falsity; or (2) was made without knowledge either of its truth or falsity;
    or (3) under circumstances in which the person making it ought to have known, if he did not
    know, of its falsity. See e.g., Parker v. State of Florida Bd. of Regents ex rel. Florida State
    Univ., 724 So. 2d 163, 168 (Fla. 1st DCA 1998).
           27.     While evidence as to “actual knowledge” is often circumstantial in nature and
    therefore raises a question of fact by its very nature, Glob. Quest, LLC v. Horizon Yachts,
    Inc., 849 F.3d 1022, 1030 (11th Cir. 2017), evidence addressing the second method of proving
    intent is more empirical in that whether a person knew or didn’t know a fact may be
    objectively provable. That is especially true here, where Foresters has admitted the fact on
    two separate occasion.
           28.     Specifically, Foresters has admitted that it did not know the truth or falsity of
    the statement made to the Vinases because Foresters’ sales department never bothered to
    inquire about the truth or falsity of those statements from Foresters’ claims department. The
    first admission was via testimony from Foresters’ CR offered to address that exact issue.4


           4
             Foresters CR was ordered to appear, inter alia, with specific knowledge of “[w]hether
    Foresters’ employees involved in the sales, marketing, or underwriting of life insurance
    policies in 2014-2018 knew that the claims department was not going to assess the ‘knowledge
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              Q.    [D]id any of the folks in the marketing or sales department ever make
                    any inquiry, check, confirm, or otherwise determine whether the claims
                    department was, in fact looking to determine, looking to find out what
                    the insureds best knowledge and belief was during contestable claims?

              A.    Not to my direct knowledge and based on the information we received
                    from Matt and Veronique, [two Foresters employees the witness
                    checked with to fulfill his 30(b)(6) obligations] no.

              Q.    So, the sales department, the marketing department never confirmed
                    that the claims department was, in fact, or wasn't, in fact, making
                    inquiry to determine the insureds best knowledge and belief?

              A.    No.

              Q.    What I said is right? You had a double negative, you said no.

              A.    I'm sorry, then reask it again.

              Q.    Can you read the question back please.

              (Thereupon, the above-referred to question was read back by the court
              reporter.)

              A.    They don't make those inquiries.

              Q.    And, to your knowledge, they never did make any such inquiries at
                    least, we will use the time period that the Court has limited us to,
                    between 2014 and 2018, right?

              A.    That is correct, they never did.

    (Parrott Depo, D.E. 158-3, p. 63, l. 24-p. 64, l. 24; see D.E. 158, at ¶ 5). Indeed, this testimony
    makes perfect sense given the facts in the present case that Foresters did not make its
    contestability decision based upon the insured’s best knowledge and belief. (D.E. 158, at ¶¶
    13-14).
              29.   The second place Foresters admitted that it made the statement without
    knowledge of its truth or falsity was in its recently filed Reply in Support of Its Own MSJ.
    Therein, Foresters admitted:


    and belief’ of the life insurance applicants for claims submitted during the two-year
    contestability period; [and] if so, what did they know, how did they learn it, and what training
    did they receive.” (D.E.109, at 2).
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           … [N]one of the individuals involved in sales or marketing of Foresters’
           products, and none of Foresters’ independent producers, had any awareness or
           knowledge of the claims or underwriting process and an applicant’s knowledge
           and belief. [Citation to Parrot depo omitted].

    (DE 141 at p. 9). Under Florida law the undisputed testimony and admission in its legal brief,
    establishes without dispute, that Foresters did not have knowledge of the truth or falsity of
    the representation made to the Vinases at the time the representation was made, (because it
    never bothered checking). Under Florida law, this is fraud. Parker, 724 So. 2d at 168. Vinas
    is entitled to partial summary judgment on this issue.
         Foresters’ Payment of the Policy Benefits Was the Functional Equivalent of a
     Confession of Judgment Entitling Vinas to Entry of Summary Judgment on the Issue of
                               Liability for Breach of Contract

           30.    Finally, Vinas is entitled to entry of partial summary judgment establishing that
    Foresters has confessed judgment with respect to the breach of contract case. It is black letter
    law in Florida that:
                  [an insurer’s] payment of a previously denied claim following the
                  initiation of an action for recovery, but prior to the issuance of a
                  final judgment constitutes the functional equivalent of a
                  confession of judgment.

    Wollard v. Lloyd’s and Cos. Of Lloyd’s, 439 So. 2d 217 (Fla. 1983)); See also Life Changing
    Ministries, Inc. v. Canopius US Insurance, Inc., No. 5:15-cv-59, 2016 WL 6947341, at *3
    (M.D. Fla. Nov. 28, 2016) (granting motion for summary judgment where defendant
    confessed judgment by paying benefits).
           31.    In the present case, it is undisputed that Defendant denied Vinas’ life insurance
    claim, (D.E. 158, at ¶ 19), that Vinas filed suit, (D.E. 1), and that within one month of its
    corporate representatives’ depositions, Foresters agreed to pay the amount under the policy
    but continued to deny that it breached the contract (D.E. 95, at 6-7; D.E. 152, at 8), the
    amount of damages owed (D.E. 95, at 7-10; D.E. 128, at 6-12; D.E. 152, at 6-8); and partial
    entitlement to attorney’s fees (D.E. 96, at 2 n.1). Thus, as simple as the analysis is, Plaintiff
    has satisfied all of the elements required for this Court to enter partial summary judgment
    against Foresters as a confession of judgment on liability determining that it breached its
    contract. The issue of what damages flow from that breach, including what portion of the


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    judgment may have already been satisfied by Forester’s payment under the policy, is a
    separate issue Plaintiff fully expects will be addressed through Foresters’ own motion for
    summary judgment or at trial.5
                                            CONCLUSION
             Based on the foregoing argument authority cited above, an Order entering partial
    summary judgment in favor of Plaintiff should be entered as requested herein and award any
    and all further relief this Court deems just and proper.

                                  S.D. Fla. L.R. 7.1(a)(3) Certificate
             Pursuant to Local Rule 7.1(a)(3)(B), I hereby certify that counsel for the Plaintiff has
    been contacted and objects to the relief requested herein.
                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically

    filed with the Court and a copy has been served on February 5, 2021 on: Kristina B. Pett,

    Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq., Danielle.shure@mhllp.com,

    McDowell, Hetherington, LLP, 2101 N.W. Corporate Blvd., Suite 316, Boca Raton, FL

    33431.

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                                                         By:     ____/s/ Craig M. Greene
                                                                 Craig M. Greene, Esq.
                                                                 Fla. Bar No. 618421
                                                                 cgreene@kramergreen.com

                                                         and



            Similarly, the issue of the amount of attorney fees due remains, as Foresters continues
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    to dispute its responsibility for fees. for the Court to determine.
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